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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

 Kevin Scott Karsjens, David Leroy
 Gamble, Jr., Kevin John DeVillion, Peter
 Gerard Lonergan, James Matthew Noyer,            Court File No. 11-cv-03659 (DWF/TNL)
 Sr., James John Rud, James Allen Barber,
 Craig Allen Bolte, Dennis Richard Steiner,
 Kaine Joseph Braun, Christopher John             PLAINTIFFS’ OPPOSITION TO
 Thuringer, Kenny S. Daywitt, Bradley             DEFENDANTS’ BILL OF COSTS
 Wayne Foster, Brian K. Hausfeld and all
 others similarly situated,

                             Plaintiffs,

 v.

 Jodi Harpstead, Kevin Moser, Peter Puffer,
 Nancy Johnston, Jannine Hébert, and Ann
 Zimmerman, in their individual and official
 capacities,

                             Defendants.

                                    INTRODUCTION

       This case was filed in 2011. In over a decade of litigation, the case has fostered two

appeals to the Eighth Circuit Court of Appeals and a third appeal is pending. Twice the

United States Supreme Court has denied certiorari. Now while the latest appeal is pending,

Defendants seek to recover nearly $850,000 in costs against the Plaintiffs. The motion is

premature and should be held in abeyance until the case finally resolves. But in any event,

the bulk of the costs Defendants seek are for payments to Rule 706 experts appointed by

this Court and whose opinions were used repeatedly by Defendants as support for their
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positions. Thus, to the extent that the Court decides to determine the motion now,

Defendants’ request should be denied in its entirety. 1

                    RELEVANT PROCEDURAL BACKGROUND

       The procedural posture of this case is long and complicated. A comprehensive

summary of the relevant actions in this case is found in ECF. No. 1197.

       In short form, Plaintiffs filed this pro se case on December 21, 2011, alleging state

and constitutional violations regarding Minnesota’s civil commitment of sex offenders.

ECF No. 1. Plaintiffs also filed for in forma pauperis status, which was granted on July 3,

2012. ECF Nos. 2-15, 180. 2 Shortly thereafter, Gustafson Gluek PLLC agreed to represent

Plaintiffs and the purported class through the Pro Se Project.

       During the discovery phase, the Court appointed four experts under Rule 706. ECF

No. 393. These experts produced a joint report, sat for depositions, and subsequently

testified at trial. Phase One of the trial, involving Counts I, II, III, IV, V, VI, VII, and XI,

began on February 9, 2015, and concluded on March 18, 2015. 3 ECF Nos. 839, 847-48,

851-52, 860-62, 865-66, 869-72, 883-85, 887-88, 892-93, 902, 906-08. Counts VIII, IX,

and X were reserved for Phase Two of trial. ECF No. 647. During motion practice and the

trial, Defendants repeatedly relied on the testimony of the 706 experts. See, e.g., ECF No.

1097 at 15; ECF No. 930 at 31, 83.



1
  To the extent that the Court believes Defendants are entitled to certain costs, Plaintiffs
object to specific items in this opposition as improper.
2
  Should Defendants challenge Plaintiffs’ financial status, Plaintiffs hereby request an
evidentiary hearing to resolve any such disputes.
3
  Counts IV, XI, XII, and XIII were dismissed with prejudice on August 10, 2015. ECF.
No. 1005.
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       On June 17, 2015, the Court issued an Order finding for Plaintiffs on Counts I and

II and concluding that the Minnesota Civil Commitment and Treatment Act, Minn. Stat. §

253D (the “Act”) was unconstitutional on its face and as applied by defendants. See ECF

No. 966 at 59, ¶25; 65 ¶36. The Court expressly declined to decide Counts III, V, VI, and

VII, stating, “because any remedy fashioned will address the issues raised in the remaining

Phase One Counts, the Court need not address Counts III, V, VI, and VII.” ECF No. 966

at 65, ¶38.

       Defendants appealed and the Eighth Circuit reversed, holding that the Act was not

unconstitutional on its face or as applied. See Karsjens v. Piper, 845 F.3d 394 (8th Cir.

2017) (“Karsjens I”). On October 2, 2017, the Supreme Court denied certiorari. Karsjens

v. Piper, 138 S.Ct. 106 (2017). On August 28, 2018, this Court granted summary judgment

for Defendants on their remaining claims. See ECF No. 1108. Defendants again relied on

the Rule 706 Experts in their briefs in support of summary judgment. See, e.g., ECF No.

1097 at 15-22.

       On October 24, 2018, Plaintiffs appealed the Court’s ruling on Counts III, V, VI

and VII to the Eighth Circuit. ECF No. 1118. Following briefing by the parties, on February

24, 2021, the Eighth Circuit affirmed the dismissal of Plaintiffs’ Count III as duplicative

of Counts I and II, see Karsjens v. Lourey, 988 F.3d 1047 (8th Cir. 2021) (“Karsjens II”)

and reversed and remanded the deficient medical treatment aspect of Count VII to be

determined under the Senty-Haugen v. Goodno deliberate indifference standard and to

apply the Bell v. Wolfish standard to Counts V, VI, and the remaining portion of Count VII.



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Id. Plaintiffs petitioned the Supreme Court for certiorari on the dismissal of Count III,

which was denied on October 4, 2021. See Karsjens v. Lourey 142 S.Ct. 232 (2021).

        On remand, the parties briefed Counts V, VI, and VII and submitted proposed

findings of fact and conclusions of law. ECF Nos. 1173-78. Defendants extensively cited

to the Expert Reports in their briefing. See, e.g., EFC No. 1173 at 5-9, 16, 23. On February

23, 2022, this Court dismissed Plaintiffs’ remaining claims with prejudice. EFC. No. 1197

at 41. On March 2, 2022, Plaintiffs filed their notice of appeal to the Eighth Circuit Court

of Appeals. EFC No. 1200.

                                       ARGUMENT

   I.      THE COURT SHOULD STAY DEFENDANTS’ MOTION FOR COSTS
           UNTIL PLAINTIFFS’ APPEAL IS RESOLVED

   “No clear standard has developed to guide district courts in the exercise of their

discretion in deciding whether or not to stay the taxation of costs pending results of the

appeal.” Burdess v. Cottrell, Inc., No. 4:17-CV-01515-JAR, 2022 WL 888135 (E.D. Mo.

Mar. 25, 2022) (citing Blakely v. Schlumberger Tech. Corp., 648 F.3d 921, 930 (8th Cir.

2011)). Because “costs are appealable separately from the merits,” a court still has the

power to award costs when an appeal on the merits is pending. Blakely, 648 F.3d at 930.

However, “Rule 54(d) does not provide any timetable or time restrictions for the taxation

of costs, but neither is it mandatory to stay taxation of costs until final disposition of all

appeals and petitions for certiorari; thus, whether or not to stay an award of costs is within

the sound discretion of the court. Maytag Corp. v. Electrolux Home Prod., Inc., No. C 04-

4067-MWB, 2006 WL 8456956 (N.D. Iowa Dec. 11, 2006) (citing American Infra-Red


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Radiant Co. v. Lambert Indus., Inc., 41 F.R.D. 161, 163 (D. Minn. 1966)) (internal

quotation marks omitted).

   Here, it is in the interest of this Court and the parties to stay the taxation of costs pending

appeal in this case. In Inline Packaging, LLC v. Graphic Packaging Int’l , Inc., No. CV 15-

3183 ADM/LIB, 2019 WL 1058241, at *1-2 (D. Minn. Mar. 6, 2019), the court analyzed

defendants’ request for a stay on plaintiffs’ motion for taxation of costs under the following

factors: judicial economy, whether the movant has a strong showing of success on appeal,

whether the movant will suffer irreparable injury without a stay, and whether a stay harms

the public interest. (citing Waine-Golston v. Time Warner Entm’t-Advance/New House

P’ship, No. 11cv1057, 2013 WL 1899928, at *1 (S.D. Cal. May 7, 2013).

   First, judicial economy weighs in favor of a stay. While courts have suggested that the

possibility of reversal on appeal is too speculative to outweigh the benefit of the trial court

conducting a review of the bill of costs while the case is still fresh, see, e.g., Maytag Corp.,

2006 WL 8456956 at *2, this is unique case compared to cases in which courts have held

taxation of costs should be resolved quickly. Compare, e.g., Id. (patent dispute); Inline

Packaging, 2019 WL 1058241 (three-and-a-half-year-old antitrust case); Starr Indem. And

Liab. Co. v. Cont’l Cement Co., No. 4:11-CV-809 JAR, 2013 WL 3154009 (E.D. Mo. June

21, 2013) (insurance and indemnity dispute). This is not a case where the taxations issues

should be resolved now since they are still fresh. This case has been pending for years and

these taxation issues do not need immediate resolution. Additionally, none of those cases

that found cost issues should be involved quickly raised the type of constitutional or the

injunctive claims requested in the current case. Second, the procedural history of this case,

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including an initial victory for Plaintiffs and partial victory on one of two appeals, suggests

that Plaintiffs have strong likelihood of success on the merits of their appeal. Third,

Defendants will not suffer irreparable injury without a stay. As detailed below and in their

previous objection to Defendants’ Bill of Costs (ECF No. 1116), even if the Court taxed to

Plaintiffs the entire amount requested by Defendants, Plaintiffs would be wholly unable to

pay. Defendants suffer no risk of harm if this matter is stayed pending appeal. Finally, the

public’s interest is in resolving this case on its merits, not in the allocation of court costs

between Defendants and the indigent Plaintiffs. The Court should stay taxation of costs

pending resolution of Plaintiffs’ appeal.

   In the alternative, if the Court will not grant a stay in this matter, Plaintiffs request that

the Court tax costs as it determines is appropriate but stay execution of the bill of costs

pending Plaintiffs’ appeal. Burdess, 2022 WL 888135 at *4 (taxing costs against plaintiffs

but ordering execution of such costs to be stayed pending resolution of plaintiffs’ appeal).

   II.      THE COURT SHOULD NOT ORDER PLAINTIFFS TO PAY ANY
            COSTS

         Although Fed. R. Civ. P. 54(d) provides that costs other than attorneys’ fees are

allowed “to the prevailing party unless the court otherwise directs,” an award of costs is

not appropriate here. Marmo v. Tyson Fresh Meats, Inc., 457 F.3d 748, 762 (8th Cir. 2006).

Whether or not to award costs is entirely left to the Court’s discretion. See Katryna L.

Damgaard as parent & natural guardian of I.L.D. v. McKennan, No. 13-CV-2192

(SRN/JSM), 2016 WL 1718370, at *2 (D. Minn. Apr. 29, 2016) (citing Smith v. Tenet

Healthsystem SL, Inc., 436 F.3d 879, 889 (8th Cir. 2006)) (“…courts have wide discretion


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in awarding costs generally.”); Marmo, 457 F.3d at 762 (concluding that “Rule 54(d)

presumes an award of costs to the prevailing party; however, the district court has

substantial discretion in awarding costs.”) (citation omitted). “Indeed, Rule 54(d) is

phrased in permissive terms and generally grants a federal court the discretion to refuse to

tax costs in favor of the prevailing party.” Id. The Court should exercise its discretion

here to deny Defendants’ punitive request for costs given the important constitutional

issues at stake and Plaintiffs’ financial and committed status.

   A. Plaintiffs Brought this Case in Good Faith

       The history of the litigation demonstrates that Plaintiffs raised important

constitutional claims against Defendants in good faith. These claims were certainly not

frivolous given that the Court found in favor of Plaintiffs on Counts I and II after a six

week trial, ECF No. 966, and the Eighth Circuit and reversed and remanded the District

Court’s dismissal of Counts V, VI, and VII, Karsjens II. See Kaplan v. Mayo Clinic, No.

CIV. 07-3630 JRT, 2011 WL 3837095, at *2 (D. Minn. Aug. 29, 2011) (denying the

imposition of costs against Plaintiffs after finding that “the[y] brought their claims in good

faith and their claims were not frivolous….”); Damgaard, 2016 WL 1718370 at *2 (citing

cases) (observing that “[c]ourts routinely refuse to tax costs where the non-prevailing party

is unable to pay those costs and did not bring a frivolous suit.”).

       Defendants ultimately prevailed against Plaintiffs on Courts I and II to be sure,

although an appeal to the Eighth Circuit on the District Court’s dismissal of Plaintiffs’

remaining claims remains pending. But only after filing two unsuccessful motions to

dismiss (ECF Nos. 427, 828), an unsuccessful summary judgment motion (ECF No. 828),

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losing at trial after nearly six weeks of testimony for multiple reasons, and losing on appeal.

See ECF Nos. 839, 847, 848, 851, 852, 860, 861, 862, 865, 866, 869, 870, 871, 872, 883,

884, 885, 887, 888, 892, 893, 902, 906, 907, 908; see also ECF No. 966 (finding the Act

unconstitutional on its face and as applied for multiple reasons); see also Karsjens II

(remanding the case to the District Court to evaluate Plaintiffs’ Counts V and VII under

the Bell v. Wolfish standard and Count VII under the Senty-Haugen v. Goodno standard).

       The Court granted Defendants’ motion for summary judgment on February 23, 2022

and dismissed Plaintiffs’ remaining claims. However, the Court cautioned Defendants:

       “Notwithstanding [dismissal of Plaintiffs’ claims], the confinement of the
       elderly, individuals with substantive physical or intellectual disabilities, and
       juveniles, who might never succeed in the MSOP’s treatment program or
       who are otherwise unlikely to reoffend, remains of serious concern for the
       Court and should be for the parties as well. The Court continues to believe
       that politics or political pressures should not compromise Class Members’
       rights to treatment and eventual reintegration into society.”

ECF No. 1197 at 40 (footnotes omitted). In this and multiple other orders, the District Court

emphasized the gravity of the Plaintiffs’ allegations and the weight of the rights being

challenged in this case. See, e.g., ECF No. 966 at 1 (“This case challenges the

constitutionality of the statutes governing civil commitment and treatment of sex offenders

in Minnesota as written and as applied, and in doing, challenges the boundaries that we the

people set on the notions of individual liberty and freedom, the bedrock principles

embedded in the United States Constitution.”); ECF No. 1108 at 41-42 (“Furthermore, the

Court views the continued confinement of elderly individuals with a low likelihood of re-

offense as an egregious affront to liberty, particularly in light of the pervasive sense of

hopelessness at the MSOP . . . The Court hopes that the public and all stakeholders will

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carefully consider the complex issues raised by this litigation, moving forward in a manner

that balances the interests of public safety, fundamental justice, and basic human dignity.

Justice requires no less.”). As the Court has recognized, this is clearly not a case involving

frivolous claims, and an award of the entirety of Defendants’ allowable litigation costs

would be inequitable.

   B. Plaintiffs Cannot Pay the Requested Costs

       As the Court knows, the Plaintiffs are indigent, as stated in their applications to

proceed in forma pauperis, which were granted by the Court. ECF Nos. 2-15, 180.

“Indigence is recognized as an appropriate justification for denial of costs.” Kaplan, 2011

WL 3837095 at *1–2 (citation omitted). This is particularly appropriate where the litigant

is unlikely to be able to pay the costs in the future. Id.; see also Pimentel v. St. Louis Pub.

Sch., No. 4:08CV1477 TIA, 2011 WL 3847413, at *1 (E.D. Mo. Aug. 26, 2011) (where

plaintiffs had been granted IFP status and there was no evidence that their financial

situation had improved since that time, an award of costs to the opposing party was not

appropriate). For example, in Finch v. Texarkana Sch. Dist. No. 7 of Miller Cty., No. 05-

CV-4070, 2009 WL 196546, at *1 (W.D. Ark. Jan. 28, 2009), the court found that the

plaintiff was unable to work because of a disability and because she had to care for her

disabled son, and thus it would be “an undue economic hardship” to tax costs to the

plaintiff. Similarly, courts have denied requests for costs where a party has “been unable

to find permanent employment.” Taylor v. Georgia-Pac. Corp. & Int'l Ass'n of Machinist

& Aerospace Workers Local W475, No. 06-CV-1079, 2008 WL 5156315, at *1 (W.D. Ark.

Dec. 8, 2008).

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       As Defendants are well aware, Plaintiffs are unable to pay the requested costs.

Plaintiffs are currently, involuntarily and indefinitely civilly committed to the MSOP and

that status is unlikely to change soon. ECF No. 966, 6 at ¶2. To the extent some Plaintiffs

have jobs at the MSOP, they are paid a pittance, half of which is withheld by the MSOP to

cover the costs of operating the MSOP. See Minn. Stat. §246B.06, subd. 6 (“The

commissioner has the authority to retain up to 50 percent of any payments made to an

individual participating in the vocational work program for the purpose of reducing state

costs associated with operating the Minnesota sex offender program.”). Additionally,

Plaintiffs have received bills from Defendants (and will continue to receive further bills)

totaling thousands of dollars for the cost of their care during their involuntary commitment.

See Minn. Stat. §246B.07, subd. 3 (“The commissioner may recover… the cost of any care

provided by the Minnesota sex offender program.”). Given that Plaintiffs are indefinitely

committed to the MSOP, their financial situation is essentially fixed and they simply do

not have the ability to pay these costs, now or likely in the future. See Kaplan, 2011 WL

3837095 at *1–2 (observing that it “is not just a matter of being unable to presently pay the

costs; it must also be shown that the litigant is not likely to be able to pay the costs in the

future.”) (quoting Denson v. Ne. Ill. Reg. Commuter R.R. Corp., No. 00 C 2984, 2003 WL

21506946, at * 1 (N.D. Ill. June 27, 2003)).




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   III.    EVEN IF THE COURT GRANTS DEFENDANTS’ REQUESTS FOR
           COSTS, NOT ALL ITEMS ON THE BILL OF COSTS ARE TAXABLE

   Even when a court exercises its discretion to grant costs pursuant to Fed. R. Civ. P.

54(d), the only items allowed to be taxed are those enumerated in 28 U.S.C. § 1920,

including “[f]ees of the clerk and marshal,” fees for transcripts “necessarily obtained for

use in the case,” fees for printing and witnesses, fees for copies that are “necessarily

obtained for use in the case,” docket fees, and “compensation of court appointed experts.”

       Here, Defendants seek over $700,000 in costs related to the Court-appointed Rule

706 experts as if only the Plaintiffs used these experts. In fact, the Court appointed the Rule

706 experts to assist the Court and both parties relied on portions of their testimony for

motion practice during trial. But regardless, Plaintiffs cannot pay for this or other costs.

Furthermore, Defendants seek impermissible costs related to deposition and hearing

transcripts that should be denied even if the Court grants some other portion of the cost

request.

       A. Costs for the Rule 706 Experts Should be Denied

       The bulk of the costs sought by Defendants is for compensation of court-appointed

experts. ECF No. 1203 (seeking $732,923.92 for Rule 706 Experts). Defendants’ argument

that Plaintiffs should now pay for the 706 Experts conveniently ignores that the Defendants

relied on the 706 Experts’ findings and testimony to support their defenses at trial and

heavily cited to the 706 Experts’ report and trial testimony in support of their motion for

summary judgment on the Phase Two claims. See, e.g., ECF No. 1097 at 15 (quoting the

Rule 706 Experts’ finding that the MSOP’s policies are akin to those at other civil


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commitment programs), 20-21 (spending two pages quoting testimony by 706 Experts Deb

McCulloch and Dr. Naomi Freeman stating that they had no concerns with the MSOP’s

policies as written); EFC No. 1173 at 5-9 (quoting testimony from McCulloch, Dr. Wilson,

Dr. Haaven, and Dr. Minor stating they believed conditions of confinement such as double-

occupancy rooms use of Behavioral Evaluation Reports, and search and seizure policies at

MSOP were not concerning), 16 (citing McCulloch, Wilson, Haaven, and Minor’s opinion

on the operational needs of double occupancy rooms at MSOP), 23 (citing the 706 Experts’

“praise” for Moose Lake “as having the appearance and feel of a community college and

being either fine or exceeding comparable facilities . . . .”). Defendants’ motion for

summary judgment was granted. ECF No. 1197. This reliance and their reliance on these

experts as to the Phase I trial (which they lost but ultimately prevailed on appeal) further

supports this Court’s decision to apportion the Rule 706 Experts’ costs to Defendants.

       Additionally, as discussed above, Plaintiffs are indigent. Courts have held that it is

appropriate for the costs of Rule 706 experts to be apportioned based on the parties’

respective assets. See, e.g. Norwood v. Liping Zhang, No. 10 C 3143, 2013 WL 5162202,

at *7 (N.D. Ill. Sept. 13, 2013) (finding the plaintiff, who demonstrated he had very few

assets, was only responsible for the cost of Rule 706 experts up to a certain dollar amount,

and anything over that amount was to be paid by the defendants). Plaintiffs should not be

responsible for any of the cost of the Rule 706 experts.

       B. Certain Transcript Costs Should be Denied

       Under 28 U.S.C. §1920, fees for printed and electronically recorded transcripts

“necessarily obtained for use in the case” may be recovered by the prevailing party.

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Defendants are seeking reimbursement of impermissible costs related to deposition and

court transcripts.

       First,   the   Bill   of   Costs     Guide     for   this   Court     (available    at

http://www.mnd.uscourts.gov/FORMS/Clerks_Office/Bill-of-Costs-Guide.pdf) notes that

transcript costs may be granted where the deponent testified at trial, the deposition was

admitted into evidence, the deposition was submitted in connection with an event that

terminated the litigation (such as summary judgment), or where the requesting party

explains why the transcript was necessarily obtained. Defendants seek costs for deposition

transcripts of Brian Buse (a MSOP patient deposed by Defendants), Robin Benson (a

Minnesota Department of Human Services employee deposed by Plaintiffs), Samantha

Benson (a MSOP employee deposed by Plaintiffs), Sheila Brandt (a MSOP employee

deposed by Plaintiffs), Alissa Hannah (an MSOP employee deposed by Plaintiffs), Mari

Moen (a MSOP employee deposed by Plaintiffs), Ana Remiger (a Minnesota Department

of Human Resources employee deposed by Plaintiffs), and Ken Carabello (an expert

retained by Defendants). ECF No. 1203-1. None of these witnesses testified at trial, none

of these depositions were admitted into evidence, and none of these depositions were

submitted in connection with an event that terminated the litigation. The only explanation

provided by Defendants for why they were “necessarily obtained” is either that “Plaintiffs

noticed the deposition” or it was cited in the original summary judgment briefing in this

case (ECF Nos. 721, 741), a motion that the Court denied in its entirety. ECF No. 828.

Additionally, with respect to Mr. Carabello’s deposition, there is no explanation of why an



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expedited transcript was needed. See ECF Nos. 1203-1 at entry 58; 1203-2 at 60. These

deposition transcript costs should not be taxed to Plaintiffs.

       Finally, Defendants seek costs for transcripts of certain court proceedings, but do

not sufficiently explain how such transcripts were “necessary for use in the case” or

“necessarily obtained.” See Bill of Costs Guide at 5. Defendants’ explanations merely state

that such transcripts were “necessary” for various reasons without explaining why they

were necessary. See ECF No. 1203-1 at entries 100-105, 112. Such conclusory

explanations are not sufficient to allow those costs to be taxed to Plaintiffs

                                      CONCLUSION

       Defendants’ Bill of Costs should be denied in its entirety and, if not in its entirety,

with respect to the costs for the Rule 706 Experts and certain transcript costs.


 Dated: April 6, 2022                      s/Daniel E. Gustafson
                                           Daniel E. Gustafson (#202241)
                                           Karla M. Gluek (#238399)
                                           David A. Goodwin (#386715)
                                           Anthony J. Stauber (#401093)
                                           Gustafson Gluek PLLC
                                           Canadian Pacific Plaza
                                           120 South Sixth Street, Suite 2600
                                           Minneapolis, MN 55402
                                           Telephone: (612) 333-8844

                                           Attorneys for Plaintiffs




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